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     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No.   CR 17-206(A)-JAK

13             Plaintiff,                    NOTICE OF REASSIGNMENT

14                   v.

15   TREVON MAURICE KING,

16             Defendant.

17

18        Plaintiff, United States of America, hereby advises the Court
19   that the above-captioned criminal case has been reassigned to a new
20   Assistant United States Attorney (“AUSA”) as follows:
21                        Name                         E-mail Address
22    Previously-         Ellen Lansden                ellen.lansden@usdoj.gov
      Assigned AUSA
23
      Newly-Assigned      Jennie L. Wang               jennie.wang@usdoj.gov
24    AUSA
25

26   Please make all necessary changes to the Court’s Case Management/
27   Electronic Case Filing system to ensure that the newly-assigned
28   AUSA’s name is associated with this case as attorney of
     Case 2:17-cr-00206-JAK Document 38 Filed 08/09/18 Page 2 of 2 Page ID #:117



1    record for the United States and that the newly-assigned AUSA

2    receives all emails relating to filings in this case.

3    Dated: August 9, 2018                Respectfully submitted,

4                                         NICOLA T. HANNA
                                          United States Attorney
5
                                          PATRICK S. FITZGERALD
6                                         Assistant United States Attorney
                                          Chief, National Security Division
7

8                                               /s/
                                          JENNIE L. WANG
9                                         Assistant United States Attorney

10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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